      Case 1:12-cv-00076-BLW Document 170-4 Filed 05/14/24 Page 1 of 3




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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF IDAHO

 EDWARD WATTERS, DEAN
 GUNDERSON, STEVEN
 FARNWORTH, MATTHEW
 ALEXANDER NEIWIRTH, individuals,                                 Case No. 1:12-cv-0076-REB
 and OCCUPY BOISE, an Idaho
 unincorporated non-profit,                              DECLARATION OF CASEY
                                                         PARSONS IN SUPPORT OF MOTION
           Plaintiffs,                                   FOR TEMPORARY RESTRAINING
                                                         ORDER, PRELMINARY
                           v.                            INJUNCTION, FOR FURTHER
                                                         RELIEF, ORDER TO SHOW CAUSE,
 BRADLEY JAY LITTLE, in his official                     AND CONTEMPT
 capacity as the Governor of the State of
 Idaho, STEVEN BAILEY, in his official
 capacity as the Director of the Idaho
 Department of Administration, and COL.
 KEDRICK R. WILLS, in his official
 capacity as the Director of the Idaho State
 Police,

           Defendants. 1




      1
          Defendants in this action automatically substituted pursuant to F.R.C.P. 25(d).


DECLARATION OF MATTHEW ALEXANDER NEIWIRTH - Page 1
       Case 1:12-cv-00076-BLW Document 170-4 Filed 05/14/24 Page 2 of 3




I, Casey Parsons, declare as follows:

   1. I am counsel for Plaintiff Matthew Alexander Neiwirth in this matter.

   2. I have repeatedly attempted to secure an alternative location besides grass on the

       grounds of the Capitol Annex where the vigil at issue in this action may continue

       while the grounds are maintained. Counsel for Defendants have been unwilling to

       identify an alternative location where the vigil may continue during this hours.

       See Exhibits A through C.

   3. On Friday, May 10, 2024, one of the demonstrators, Hannah Tucker, was arrested

       at the site of the protest for allegedly resisting and obstructing in violation of I.C.

       18-705. I attempted to visit Ms. Tucker in the Ada County Jail as her attorney in

       order to advise her at approximately 12:01 AM on Saturday, May 11, 2024 and

       repeatedly invoked her right to counsel in doing so. I was told by jail staff and law

       enforcement that I was unable to speak with Ms. Tucker because she was refusing

       to comply with the booking process. The jail staff and law enforcement were

       unable to explain to me what that meant or which part of the ”booking process”

       with which she was allegedly refusing to comply.

   4. After contacting counsel for the Ada County Jail, I was advised that Ms. Tucker

       would have been provided with a phone call to her attorney if she had asked to

       speak with me. See Exhibit D. It is my understanding that Ms. Tucker did in fact

       request to speak with me on at least one occasion. In any event, I was present at

       the jail and demanded to speak with her, but was denied that opportunity on the

       basis that she was refusing to cooperate.




DECLARATION OF MATTHEW ALEXANDER NEIWIRTH - Page 2
       Case 1:12-cv-00076-BLW Document 170-4 Filed 05/14/24 Page 3 of 3




   5. I will testify in person and under oath about these facts before this Court if I am

       called as a witness.



       Pursuant to 28 USC § 1746, I declare under penalty of perjury that the foregoing is

true and correct.

              EXECUTED: May 14, 2024.



                                   __________________________________
                                   Casey Parsons
                                   Attorneys for Plaintiff Matthew Alexander Neiwirth




DECLARATION OF MATTHEW ALEXANDER NEIWIRTH - Page 3
